Case 3:16-cv-08277-DLR Document 24-4 Filed 10/18/17 Page 1 of 4

EXhibit 4

TILA 2009 Rescission Letter 5/15/20

No. CV-16-08277-PCT-DLR

Case 3:16-cv-08277-DLR gQ§li_.n‘tinle:`¢`/Fli|relq 10/18/17 Page 2 of 4
CERTIFICATION OF MAILING

State of lif'l'§€>i'\ \ j

) ss.

County of_:_/_C_§L_CLG_C__;\_ )

On this 35 day of §'{.§'\13`\€\¥§[ , 20 for the purpose of verification I, the undersigned
Notary Public, being commissioned in the County and State noted above, do certify that
Michael john Brosnahan, appeared before me with the following document listed below. I,
the below signed notary, personally verified this document and sworn statement:

 

LIST OF DOCUMENTS MAILED.ON OR ABOUT May.lS,,Zt)!).Q:rr , ,, , __ ,, , .'

AFFIDAVIT OF NOTARY CERTIF!CATION OF MA!LING:
"Notice 0f Right To Cancel Letter":

Dated May 15, 2009 (2 pages) Mailed on or about May 15, 2009

VERIFIED STATEMENT

Michael J Brosnahan, verifies that he is competent to state as to the matters set forth
herein and has first-hand knowledge them and attests that to the best of his knowledge and belief,
such facts are true, correct and complete to the best of his knowledge and belief, admissible as
evidence, and if called upon as a witness, he will testify to their veracity.

%/¢;/eb//// ~; /'v_»} C:/¢ ina ///

w/ Michael /Bl/osn'/ali/an ,
/ Sign reserving all my rights at UCC 1-308

 

 
      

 

  
  

_, , _. )_ \“\\mn,,
1 , M ' w `\\`€\,\CA M(;"l,
. a : "` o‘*'.“°°*o 4/ il
` $‘o"*‘ ypo.°. 0 ll
' _ " v. § . . @", o z
. . 5 ~~> /C?" q ~’-' .~’ ’-,-,’v:
My commission exp es: ( L) j .20 l :: _<5 ; z
/ Z Z=.O .= §
z '7 ".Oa »' `°’~':
j *° ‘. . '.¢ z `
v ‘9' "»Q’P 3» .-' 0 \`
"/c "»-'°~‘ <<\\'~\’\'~`
"/,,?UNTY, ?`\\\`

lmm\\“

Case 3:16-cv-08277-DLR Document 24-4 Filed 10/18/17 Page 3 of 4

From: Michael Brosnahan May 15, 2009
21 Hummingbird Circle
Sedona,AZ 86336

To: BAC Home Loans Servicing LP
400 Countrywide Way SV-35
Simi Valley CA 93065

Mortgage ElectronicRegistration AND
400 Countrywide Way SV-35
Simi Valley CA 93065

CC: Reconstruct Company
2380 Perfonnance Dr
Richardson, TX

Re: Original Loan # 137733623
Common|y Known Address: 21 Hummingbird Cir Sedona AZ 86336}
Deed of anst Record: 3386186

Notice of Right to Cancel
Norroe ro Agenr is Notroe to Pnncrpa
NorroeroPrincrparisNorrceroAge/rr

Parties: Michael Brosnahan (Alleged Borrower(s) hereinamr Borrower(s)- and, BAC HOME LOAN SERV|CING and
Mortgage ElectronicReglstration (Alleged Lender(s) ~ hereinalter Lender)

Attention: BAC HOME LOAN SERVlC|NG, Mortgage Electronic Regislralion and Reconsimct Company

This communication will serve as our Notr'ce of@gg' tg Canceldated MA¥ 15,2009.1"lLA(Inrth in Lenrhr_rg A_g, 15 USC §1601 et
W; 12 CFR Parl 226) allows three (3) years to review Disclosure Documents. The referenced ‘Three Day Right to Cancel' must
have a trigger to begin. That trigger, is when the Lender has provided the Borrower with A___LL of the required Disclosures under TILA,
and that the same are bue, compleie. accurate, and timely provided

Being as the entire purported loan/mormage process and Deed of Trust referenced herein and throughout was obtained by wrongful
acts of fraud, fraudulent inducement concealment and fraudulent misrepresentation the borrower has other recourse, right, and cause
ofachonundernumemusswteandfedemlswhrhee.Actsoftraudlaianoid everythingittouchesastheUSSuprr-)rneCourthas
declared: “There is no question of the general doctrine that fraud vitiates the most solemn contacts documents, and even
judgments.' (United States v. Throckmorton, 98 U.S. 61 )

To this date, Lender has ne;v_e_r provided Borrower with true, complete, accurate or timely documents as required ONLY AFTER such
provision has been done, can the ‘3 DAY RlGHT TO CANCEL' period begin. lf the reqm'red full Disclosure(s) have not been provided,
then the period in which to Cancel is extended for up to three (3) years, OR until Lender moves to foreclose

The recordsthusfarevidence, that Borrowerhas requeswdtocancelwithinthestipulawd hireeyeartimeperiod, while siillwaiiingto
receive all Truth-in-Lending disclosures as required by Federa| Law, the same of which have never been received

Notice of Right to Cancel Page l of 2

 

'r

Case 3:16-cv-08277-DLR Document 24-4 Filed 10/18/17 Page 4 of 4

A close penrsallaudit of Borrower's mortgage documents has revealed certain Disclosure Vrolaiions; and, that the Borrower has the
remedial right and remedy (UCC 1-201 (32) (34)), inter alia, to invoke their Right of Reecission (ROR) as further evidenced by the
original NOT|CE OF RlGHT TO CANCEL. You will also please find Borrowers signed and dated NO`HCE to the Lender(s),
Successor(s) and Beneticiary as stated on the NOT|CE OF RlGHT TO CANCEL, if provided in the loan package. lf such Notice was

not provided this written Notlce of communication is provided in lieu thereof

After sufficient NOT|CE has been given to Lender, the Lender is required by Federal Lavr to CANCEL any lien(s) and to CANCEL any
security interest on the Bonower’s home within twenty (20) days. The Lender must also relum any money, interest fee, and/or property
to Borrower, as well as any money/funds given to any persons or other fiction in law/entity in connection with said transaction

tn accordance with both Sfate and Federal law or until the Lender complies, Borrower may retain the proceeds of the transaction lf it
should be ‘impracticel' or ‘unfair’ for the Borrowerto retum the property when gross discrepancies, fraud, or otherwrongful acts are
discovered - then he/she/they may offer its ‘Reamnable Value’.

|n the event the Lender should fail or refuse to take possession of the property or retum the borrowers money offer within twenty (20)
days . . Borrower may then regain/acquire all rights to ciear title and reconveyance under Federal Law and prow'sions of TILA,

Additiona|ly, Borrower has the right to offer Lender a Reasonable Value. However, the penalty that a bank can face for violations of
T|LA and otherState and Federal lawcan beasmuchastripledamages . . . i.e., tripletheamountcfthe interestthebankstood to
fraudulently make off of the mortgage/loan transaction Therefore, the bonowers hereby in good faith make the following offer.
Borrowers will forgive BAC HOME LOAN SERV|ClNG and Mortgage Reconstruct Company and Mortgage Ebctronic Registration any
liability incurred by its wrongful actions, provided, BAC HOME LOAN SERV|ClNG rightfully forgive Borrowers the full amount of
mortgage/credit you fraudulently allege to have given ln addition Borrowers make the one time demand of $150,000.00 for any loss,
damage, and injury they have sustained; and, that BAC HOME LOAN SERVlClNG and Mortgage Electronic Registration also remove
all/any negative comments on Bgrrower’s credit report attributed to this transaction

Any default failures, or non-compliance on the Lender’s part to perform as herein directed within twenty (20) days of receipt shall
constitutethis NoliceofRightto Cancelasvalid andfully agreed/accepted prusuanttolhetem\sand conditionsassetforlhhereinand
throughout

Sincerely,

'/”%;5’//;/?;;¢ Q,/L/z;&//'

MichaelBrosnahan

Notice of Right to Cancel Page 2 of 2

